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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

 JATOON MOSS, as Personal
 Representative for the Estate of
 Craig Ridley, on behalf of the
 Estate and Survivors Jatoon Moss
 and Gary Ridley,

       Plaintiff,
 vs.                                     Case No.: 3:21-cv-1026-MMH-MCR

 RICKY D. DIXON, et al.,

      Defendants.
 _____________________________________/

                    DEFENDANTS’ MOTION TO DISMISS
                    PLAINTIFF’S AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants JACOB

 ANDERSON, WILLIAM JEFFREY JERRELS, DANIEL KLEIN, JASON

 LIVINGSTON, JOHN NYITRAY, and STEVEN POTOSKY (collectively

 “Defendants” or “Individual Defendants”) respectfully request this Court enter an

 Order dismissing the Amended Complaint as to the Individual Defendants for

 Plaintiff’s failure to state a claim upon which relief may be granted, statute of

 limitations, and other grounds cited herein, and in support thereof, state:




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                     INTRODUCTION AND BACKGROUND

        1. Plaintiff’s claims should be dismissed with prejudice because they are

 outside the four-year statute of limitations for Section 1983 and state causes of

 action. Plaintiff’s wrongful death claim is outside the two-year statute of limitations.

 Plaintiff’s conspiracy count must be dismissed with prejudice due to the

 intracorporate conspiracy doctrine. Plaintiff’s Pre-Death Damages count also fails

 to state a cause of action. In the alternative, Plaintiff’s Amended Complaint is a

 “shotgun” pleading that requires dismissal without prejudice.

        3. Plaintiff Jatoon Moss, as personal representative of the Estate of Craig

 Ridley (“Decedent” or “Ridley”), filed this suit on October 12, 2021, related to the

 2017 death of Ridley who was a prisoner at the Florida Department of Corrections’

 (“FDC”) Reception and Medical Center (“RMC”). This lawsuit was filed exactly

 four years following Ridley’s passing.

        4. Plaintiff filed an Amended Complaint on February 18, 2022. Plaintiff

 alleges nine counts in the Amended Complaint with six counts against Jerrels, five

 counts against Anderson and Klein, and four counts against the remaining Individual

 Defendants in their individual capacities including:

        a. Count I for Wrongful Death under § 768.16 et seq., Florida Statutes

 (Jerrels);

        b. Count II for conspiracy under 42 U.S.C. § 1983 (all defendants);


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       c. Count III for excessive force/failure to intervene under 42 U.S.C. §

 1983 (Jerrels);

       d. Count IV for Deliberate Indifference to Excessive Force (42 U.S.C. § 1983)

 (Jerrels, Anderson, and Klein);

       e. Count V for failure to protect under § 1983 (all defendants);

       f. Count VIII for outrageous conduct under Florida law (all defendants); and

       g. Count IX for “pre-death damages” under Florida law (all defendants).

       5. Plaintiff alleges that Ridley was injured by corrections officers at RMC on

 September 8, 2017. Ridley was immediately paralyzed but remained alert telling

 officers that “My neck is broke” and “I’m paralyzed.” Ridley was taken to be

 examined by medical professionals at RMC (“medical”) who determined that he

 could be transported back to confinement. Ridley was placed in a cell and fell which

 caused injuries to his face. (ECF No. 30 at ¶¶ 30-31, 40-41, 67-69, 73-75).

       6. Ridley was returned to the medical unit a second time that day and was

 again cleared to return to confinement. Consequently, Ridley was transported to

 confinement, placed in a bed and remained there until September 12 or 13, 2017, in

 which he was transported to Memorial Hospital in Jacksonville, FL. Ridley “never

 recovered and died” from his injuries on October 12, 2017. (ECF No. 30 at ¶¶ 75-

 81, 86-87). Plaintiff alleges that Ridley’s cause of death was “complications of




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 quadriplegia due to dislocation of the C4-C5 vertebrae with spinal cord contusions

 due to blunt impact to the head and neck.” (ECF No. 30, ¶ 89).



                            MEMORANDUM OF LAW

       Rule 12(b)(6) provides that a court may dismiss a complaint for “failure to

 state a claim upon which relief may be granted.” Fed. R. Civ. P. 12(b)(6). Pursuant

 to Rule 8(a), in order to state a claim for relief, a complaint must contain “a short

 and plain statement of the claim showing that the pleader is entitled to relief.” Fed.

 R. Civ. P. 8(a)(2). “A district court may properly dismiss a complaint if it rests only

 on conclusory allegations, unwarranted deductions of facts or legal conclusions

 masquerading as facts.” Sarver v. Jackson, 344 Fed. App’x 526, 527 n.2 (11th Cir.

 2009).



    A. Counts I, II, III, IV, V, VIII and IX against Defendants are barred by
              the Statute of Limitations and should be dismissed.

          1. Plaintiff’s Section 1983 and state law claims are barred by a
                           four-year statute of limitations.


 Counts II, III, IV, V, VIII and IX of Plaintiff’s Amended Complaint allege violations

 of 42 U.S.C § 1983 and state law. Plaintiff, however, filed the initial Complaint

 outside of Florida’s four (4) year statute of limitations which applies to the §1983

 and state law claims alleged in the Amended Complaint. See Chappell v. Rich, 340
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 F.3d 1279, 1283 (11th Cir. 2003) (holding that there is a four-year statute of

 limitations for § 1983 claims for which Florida is the forum state); see also Smith v.

 Shorstein, 217 F. App’x 877, 881 (11th Cir. 2007) (Florida’s four-year statute of

 limitations applied to prisoner’s Section 1983 conspiracy claim); Gomez v. Doe, 213

 F. App’x 877, 879 (11th Cir. 2007) (applying four-year statute of limitations to

 deliberate indifference claim); Goldsworthy v. Dist. Sch. Bd. Of Collier Cty., Fla.,

 No. 2:17-CV-239-JES-CM, 2018 WL 3536081, at *2 (M.D. Fla. July 23, 2018) (“A

 cause of action for intentional infliction of emotional distress accrues when a

 plaintiff suffers severe emotional distress.”).

       Accrual of federal actions is governed solely by reference to federal law.

 Mullinax v. McElhenney, 817 F.2d 711, 716 (11th Cir. 1987) (“[I]n Section 1983

 actions ‘[o]nly the length of the limitations period, and the closely related questions

 of tolling and application, are to be governed by state law.’” (citing Wilson v. Garcia,

 471 U.S. 261, 269 (1985)). Under federal law, actions brought pursuant to § 1983

 accrue, or begin to run, “from the date the facts which would support a cause of

 action are apparent or should be apparent to a person with a reasonably prudent

 regard for his rights.” Ross v. Mickle, 194 F. App'x 742, 744 (11th Cir. 2006). A

 claim accrues when “the plaintiff knows or has reason to know that he has been

 injured . . . .” Mullinax, 817 F.2d at 716; see also New Port Largo, Inc. v. Monroe

 County, 706 F. Supp. 1507, 1515 (S.D. Fla. 1988) (holding the time of accrual is


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 when the plaintiff knows or has reason to know of the injury which is the basis of

 the action.).

        “This rule requires a court first to identify the alleged injuries, and then to

 determine when plaintiff could have sued for them.” Rozar v. Mullis, 85 F.3d 556,

 562 (11th Cir. 1996). A claim premised on excessive force accrues at the time the

 alleged force was used with a statute of limitations of four years in Florida. Baker v.

 City of Hollywood, 391 F. App’x 819, 821 (11th Cir. 2010). Plaintiff’s allegations

 are clear that Ridley was injured on September 8, 2017. (ECF No. 30 at ¶¶ 27-31).

 Plaintiff alleges that several incidents regarding his health occurred, which are the

 basis of this suit, from September 8 through September 12 or 13 of 2017. On

 September 12 or 13, 2017, Ridley was taken to Memorial Hospital in Jacksonville,

 FL. (ECF No. 30 at ¶¶ 86-87). At that time, all allegations related to excessive force,

 outrageous conduct, failure to protect and state survival claims would have accrued

 during this time period.

        Plaintiff alleges Ridley was aware and knew what had occurred on September

 7, 2017, and the individuals who allegedly caused his injury. Ridley was speaking

 about his injuries with both corrections officers and medical staff. (ECF No. 30 at

 ¶¶ 41, 47). Plaintiff makes no allegations that Ridley was not on notice or did not

 know about his injuries. The allegations related to Defendants end, at the latest, on

 September 13, 2017. (ECF No. 30 at ¶¶ 86-87). Consequently, Counts II, III, IV, V,


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 VIII, and IX are barred by the statute of limitations because they were not filed

 within 4 years of the accrued cause of action. The Counts should be dismissed with

 prejudice as to the Individual Defendants.



    2. Plaintiff’s claim for wrongful death is barred by statute of limitations.

       The statute of limitations for Plaintiff’s action under the Wrongful Death Act

 is determined under Section 95.11(4)(d). See § 95.11(4)(d), Fla. Stat. Under Florida

 law, a cause of action for wrongful death accrues on the date of death and has a two-

 year statute of limitations period. Fulton County Adm’r v. Sullivan, 753 So.2d 549,

 552 (Fla. 1999) (citing St. Francis Hosp. v. Thompson, 159 Fla. 453, 31 So.2d 710

 (1947)).

       In the instant matter, Ridley passed away on October 12, 2017. (ECF-30 at ¶¶

 86-87). Plaintiff did not file a lawsuit until October 12, 2021. As a result, Plaintiff’s

 cause of action well exceeds the two-year statute of limitations, which expired on

 October 12, 2019. Plaintiff attempts to allege some excuses for the statute of

 limitations concerns but fails to explain why the Plaintiff would not have had notice

 of death on October 12, 2017 or what knowledge Plaintiff did have. (ECF-30 at ¶¶

 135-141). There was more than sufficient time to file a lawsuit after Ridley’s death.

 “The limitations clock begins running when a reasonable person would know they

 had a claim, not only when the facts crystallize into a slam-dunk case.” McGinley v.


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 Mauriello, 682 Fed. Appx. 868, 872 (11th Cir. 2017) (discussion of wrongful death

 statute in Florida and statute of limitations). None of the allegations in the

 “Additional Facts Relevant to the Statute of Limitations” in paragraphs 135-

 141Therefore, Plaintiff’s Count I for wrongful death against Jerrels should be

 dismissed with prejudice.

                         B. Improper “Shotgun Pleading”

       If the Court were to allow the Amended Complaint to remain operable

 following an analysis of the statute of limitations issues, Plaintiff’s Amended

 Complaint fails to comply with the basic pleading requirements of Rule 8(a). While

 the Amended Complaint does not need detailed allegations, it must “give the

 defendant fair notice of what the plaintiff's claim is and the grounds upon which it

 rests.” Randall v. Scott, 610 F.3d 701, 705 (11th Cir. 2010). Rule 10(b) also provides

 that “each claim founded on a separate transaction or occurrence…must be stated in

 a separate count” when doing so would promote clarity. “[T]he Complaint falls into

 the final category of shotgun pleading identified in Weiland as it asserts ‘multiple

 claims against multiple defendants without specifying which of the defendants are

 responsible for which acts or omissions, or which of the defendants the claim is

 brought against.’” Confederacion Hipica of Puerto Rico, Inc. v. Tote Mar. Puerto

 Rico, LLC, 2020 WL 2114635 at *2 (M.D. Fla. May 4, 2020) (quoting Weiland v.

 Palm Beach Cty. Sheriff's Office, 792 F.3d 1313, 1323 (11th Cir. 2015)).


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                  1. Improper Collective Grouping of Defendants.

       Here, Plaintiff’s Amended Complaint fails to give the any of individual

 Defendants fair notice of the claims because it is difficult for them to discern which

 specific allegations are brought against which Defendant. There are few, if any,

 substantive allegations of conduct by each defendant other than conclusory

 allegations that they may have said something or mainly that they failed to do

 something. Throughout the Amended Complaint, general and vague allegations are

 made against the roughly twenty defendants, including “five John Does,” making it

 difficult to discern what the Plaintiff is claiming against each Defendant.

 Notwithstanding the number of defendants named in a pleading, Plaintiff must still

 provide “a short and plain statement of the claim” in Rule 8 while providing

 sufficient notice to all defendants of allegations. Plaintiff’s Amended Complaint

 falls far short of that requirement.

       Plaintiff takes an improper “kitchen sink” approach to setting out the factual

 allegations in his Amended Complaint. See J.V. by K.V. v. Duval Cty. Sch. Bd., 2017

 WL 4226590 at *2 (M.D. Fla. Sept. 22, 2017). “Plaintiff's kitchen-sink pleading is

 replete with vague, conclusory, and repetitive allegations, which too often fail to

 distinguish between Defendants.” Brogan v. Volusia Cty., Fla., 2018 WL 2359145

 at *3 (M.D. Fla. May 24, 2018). Plaintiff’s Amended Complaint purports to allege




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 as many causes of action against as many correctional officers as possible without

 any substance.

       In each count, Plaintiff lists defendants together but fails to provide specific

 allegations as to each defendant as required. See Lane v. Capital Acquisitions &

 Mgmt. Co., 2006 WL 4590705, at *5 (S.D. Fla. Apr. 14, 2006) (holding that lumping

 all the defendants together in each claim without distinguishing their conduct failed

 to satisfy the minimum standard of Rule 8.); see also Synergy Real Estate of SW

 Florida, Inc. v. Premier Prop. Mgmt. of SW Fla., LLC, 2013 WL 5596795 at *2

 (M.D. Fla. Oct. 11, 2013) (“Although the Court has stated and again reminded

 plaintiffs that indiscriminately lumping 'defendants' together fails to comply with

 Fed. R. Civ. P. 8, the Second Amended Complaint continues to indiscriminately

 lump defendants together."); Scott v. Yellon, 2013 WL 3802797 at *1 (M.D. Fla. July

 11, 2013) (requiring Plaintiff to replead to separate each Defendant and the

 allegations against each of them under each separate Count.).

       In the Amended Complaint, after identifying Defendants KLEIN (¶ 11),

 LIVINGSTON (¶ 12), NYITRAY (¶ 13), and POTOSKY (¶ 17) in the initial

 “Parties” section, none of those Defendants are mentioned by name again outside of

 the collective groupings for Counts II, V, VIII, and IX (¶¶ 147, 168, 194, and 199).

 There are no allegations of any specific conduct against them.             Defendant

 ANDERSON is only mentioned in paragraphs 10 (identification as a party), 60


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 (Anderson said Plaintiff was cleared), 66 (Anderson said Plaintiff was cleared), 67

 (duplicate of paragraph 60), and 161 (grouping with Defendants SMITH, JERRELS,

 and KLEIN for Count IV). Defendant JERRELS, however, is mentioned more often

 than the others in the Amended Complaint.

       Plaintiff makes very general allegations concerning all “Defendants” and their

 collective conduct throughout the Amended Complaint. This makes the task of

 responding to Plaintiff’s allegations nearly impossible and does not provide

 Defendants the fair notice required by Rule 8.

       The “shotgun” nature of the Amended Complaint is especially pronounced in

 Count II where Plaintiff includes all the individual defendants without providing any

 specific notice to each defendant of allegations of conspiracy. “Plaintiff's Complaint

 reads more like a ‘shotgun’ pleading, ‘leaving the court with the cumbersome task

 of sifting through myriad’ allegations…to identify facts that may support a

 conspiracy to harm [Plaintiff] and deprive him of his constitutional rights. Walton

 for Estate of Smith v. Florida Dep't of Corr., 2018 WL 1393520 at *9 (M.D. Fla.

 Mar. 20, 2018), on reconsideration in part, 2019 WL 462844 (M.D. Fla. Feb. 6,

 2019) (citing Fullman v. Graddick, 739 F.2d 553, 556–57 (11th Cir. 1984)).

       Furthermore, in Count V (Failure to Protect), Count VIII (Outrageous

 Conduct), and Count IX (Action for Pre-Death Damages under Florida Survival

 Statute), Plaintiff aggregates “all individual defendants” together without providing


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 additional specifics related to allegations. The collective grouping and vague

 allegations are made throughout all counts with multiple defendants. See Magluta v.

 Samples, 256 F.3d 1282, 1284 (11th Cir. 2001) (“The complaint is replete with

 allegations that 'the defendants' engaged in certain conduct, making no distinction

 among the fourteen defendants charged, though geographic and temporal realities

 make plain that all of the defendants could not have participated in every act

 complained of.”)



        2. General confusion related to claims for Rules 8(a) and 12(b)6.

       There is also general confusion from Defendants in order to properly respond

 to these alleged causes of action. For example, the allegations for Count IX of “pre-

 death damages” includes all defendants but provides no allegations of what damages

 are being alleged against which defendant.1 Likewise, Count V for “failure to

 protect” fails to state a claim since no prisoner attack is alleged. Cox v. Nobles, 15

 F.4th 1350, 1357 (11th Cir. 2021) (“failure to protect” involves allegations that

 prison officials failed to protect an inmate from an attack by another inmate).

       Furthermore “Outrageous Conduct” in its current form is also confusing in

 whether Plaintiff means a count for “Intentional Infliction of Emotional Distress”

 (“IIED”) or another tort. An IIED would typically not be a survival claim since

 survivors were not physically present at the time of the alleged intentional infliction


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 of emotional distress to the decedent. See Mount v. Pulte Home Co., LLC, 2021 WL

 2942655 at *4 n.8 (M.D. Fla. May 25, 2021). As a result, Defendants are unable to

 properly respond to the allegations. Thus, Plaintiff’s Amended Complaint, in its

 entirety, should be dismissed.



   C. Count II should be dismissed due to intracorporate conspiracy doctrine.

       Although, the entirety of Plaintiff’s Amended Complaint should be dismissed

 due to it being a shotgun pleading, the Court should dismiss Plaintiff’s Count II for

 conspiracy with prejudice due to the intracorporate conspiracy doctrine. “The

 intracorporate conspiracy doctrine holds that acts of corporate agents are attributed

 to the corporation itself, thereby negating the multiplicity of actors necessary for the

 formation of a conspiracy.” McAndrew v. Lockheed Martin Corp., 206 F.3d 1031,

 1036 (11th Cir. 2000). “[U]nder the doctrine, a corporation cannot conspire with its

 employees, and its employees, when acting in the scope of their employment, cannot

 conspire among themselves.” Id. The Eleventh Circuit has extended application of

 the intracorporate conspiracy doctrine to public entities and their employees. Denney

 v. City of Albany, 247 F.3d 1172, 1191 (11th Cir. 2000) (stating “the only two

 conspirators identified . . . are both City employees; no outsiders are alleged to be

 involved” and concluding intracorporate conspiracy doctrine barred plaintiffs' §

 1985(3) conspiracy claims for deprivation of their equal protection rights); see also


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 Rehberg v. Paulk, 611 F.3d 828, 854 (11th Cir. 2010) (concluding intracorporate

 conspiracy doctrine barred § 1983 conspiracy claim against a county employee);

 Dickerson v. Alachua Cnty. Comm'n, 200 F.3d 761, 767–68 (11th Cir.

 2000)(concluding intracorporate conspiracy doctrine barred plaintiff's § 1985(3)

 conspiracy claim for interference with his civil rights). This Court has extended the

 doctrine to the FDC. See Copeland v. Jones, 2019 WL 4675400 at *4 (M.D. Fla.

 Feb. 14, 2019) (barring conspiracy claim under intracorporate conspiracy doctrine

 because of “no outsider participation in the alleged conspiracy – all Defendants are

 employees of the [FDC] who Plaintiff alleges violated her civil rights during the

 course of performing their jobs.”).

       In the instant matter, it is undisputed that the defendants were all employees

 of FDC at the time of the alleged incidents. The intracorporate conspiracy “doctrine

 has been applied not only to private corporations but also to public, government

 entities” and their employees. Dickerson v. Alachua Cnty. Comm’n, 200 F.3d 761,

 767 (11th Cir. 2000) (holding a County jail and its employees are considered to

 constitute a single legal entity that cannot conspire with itself); see also A.B. ex re.

 Baez v. Seminole Cnty Sch. Bd, 2005 WL 2105961 at *9 (M.D. Fla. Aug. 31,

 2005)(quoting Dickerson). The very few allegations specific to each defendant

 describes most of the defendants within their job duties and responsibilities

 including paperwork, transporting Ridley, taking Ridley for medical attention, etc.


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 Only conclusory allegations of conspiracy are present in the Amended Complaint.

 In Grider v. City of Auburn, Ala., the Eleventh Circuit stated:

              We recognize that one might reasonably believe that
              violating someone's constitutional rights is never a job
              related function or within the scope of a police officer's
              employment. However, the question of whether a
              defendant acted within the scope of his employment is
              distinct    from     whether     the    defendant      acted
              unconstitutionally. The scope-of-employment inquiry is
              whether the employee police officer was performing a
              function that, but for the alleged constitutional infirmity,
              was within the ambit of the officer's scope of authority
              (i.e., job-related duties) and in furtherance of the
              employer's business.

 618 F.3d 1240, 1262–63 (11th Cir. 2010). In Grider, the plaintiff alleged the

 defendant was engaged in malicious prosecution. Id. “Our inquiry is not whether

 Officer Crook had the authority to prosecute in an unconstitutional manner and with

 malicious intent, but instead whether engaging in prosecutions is part of Crook's job-

 related powers and responsibilities.” Id. In the same way, the question for the Court

 in the instant case is not whether any action was unconstitutional, but instead

 whether transporting Ridley and filling out reports was within defendants’ job-

 related powers and responsibilities. Therefore, even if Plaintiff sufficiently plead a

 conspiracy between defendants and the other individual defendants, because all

 individual defendants were employees of the FDC during the relevant period,

 Plaintiff's conspiracy count must be barred by the intracorporate conspiracy doctrine.

 Therefore, Count II must be dismissed with prejudice.
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       In order to establish a prima facie case of a § 1983 conspiracy, a plaintiff must

 show that “the defendants reached an understanding to deny the plaintiff’s rights.”

 Hadley v. Gutierrez, 526 F.3d 1324, 1332 (11th Cir. 2008) (citing Bendiburg v.

 Dempsey, 909 F.2d 463), Under Federal Rule of Civil Procedure 8(a)(2), a complaint

 must contain a “short and plain statement of the claim showing that the pleader is

 entitled to relief.” The rule requires sufficient factual matter, accepted as true, to

 “state a claim to relief that is plausible on its face,” Twombly, 550 U.S. at 570.

       A claim has facial plausibility when the pleaded factual content allows the

 court to draw the reasonable inference that a defendant is liable for the misconduct

 alleged. Id. at 556. “[T]he tenet that a court must accept a complaint's allegations as

 true is inapplicable to threadbare recitals of a cause of action's elements, supported

 by mere conclusory statements.” Id. at 555. “A court considering a motion to dismiss

 may begin by identifying allegations that, because they are mere conclusions, are

 not entitled to the assumption of truth. While legal conclusions can provide the

 complaint's framework, they must be supported by factual allegations.” Id.

       Additionally, the plaintiff must show “an underlying actual denial of [his]

 constitutional rights.” Hadley v. Gutierrez, 526 F.3d 1324, 1332 (11th Cir. 2008).

 “The plaintiff does not have to produce a smoking gun to establish the understanding

 or willful participation required to show a conspiracy, but must show some evidence

 of agreement between the defendants.” Rowe v. City of Fort Lauderdale, 279 F.3d


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 1271, 1283-84 (11th Cir. 2002). As such, to allege a conspiracy, a plaintiff must

 make “particularized allegations” that are more than vague or conclusory. Burge v.

 Ferguson, 619 F. Supp. 2d 1225 (M.D. Fla. 2008) (citing GJR Invs., Inc. v. County

 of Escambia, Fla., 132 F.3d 1359, 1370 (11th Cir. 1998), overruled in part on other

 grounds)). For purposes of § 1983, the plaintiff must plead in detail, through

 reference to material facts, the relationship or nature of the conspiracy and agreement

 between the state actor(s) and the private persons. Fullman v. Graddick, 739 F.2d

 553, 556-57 (11th Cir. 1984). Therefore, merely “stringing together” alleged adverse

 acts of individuals are also insufficient to demonstrate the existence of a conspiracy.

 Harvey v. Harvey, 949 F.2d 1127, 1133 (11th Cir. 1992). Plaintiff provides no

 factual basis to support a conspiracy claim. Plaintiff simply claims that all of the

 Defendants engaged in a conspiracy. Plaintiff’s allegations do not provide a factual

 basis to sustain a claim for conspiracy.

       Plaintiff fails to allege any facts demonstrating an agreement or understanding

 to deny Ridley his constitutional rights. Mere labels and conclusions are not accepted

 as true when deciding a motion to dismiss. Defendants cannot be held responsible

 for simply performing their jobs while, at the same time, working at the same

 institution with seemingly no other connection to one another. See Turner v. Safley,

 482 U.S. 78, 89 (1987) (stating that federal courts should not become the primary

 arbiters of what constitutes the best solution to every administrative problem and


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 that such a policy would unnecessarily perpetuate the involvement of the federal

 courts in affairs of prison administration). Therefore, as Plaintiff has no facts to

 support the conclusory allegations, the conspiracy claims against Defendants should

 be dismissed.

       Count IX for Pre-Death Damages Fails to State a Cause of Action

       Plaintiff’s Count IX is for Pre-Death Damages under section 46.021, Florida

 Statutes. Section 46.021, titled “Actions; surviving death of party” provides in its

 entirety: “No cause of action dies with the person. All causes of action survive and

 may be commenced, prosecuted, and defended in the name of the person prescribed

 by law.” In this matter, Plaintiff has brought a Wrongful Death cause of action under

 Count I, realleging all of the prior allegations. Plaintiff also seeks relief under

 section 46.021, F.S. based upon the same allegations.

       The Wrongful Death Act provides “When a personal injury to the decedent

 results in death, no action for personal injury shall survive and any such action

 pending at the time of death shall abate.” §768.20, Fla. Stat. Plaintiff’s allegations

 are that Ridley was transported to confinement, placed in a bed and remained there

 until September 12 or 13, 2017, in which he was transported to Memorial Hospital

 in Jacksonville, FL. Ridley “never recovered and died” from his injuries on October

 12, 2017. (ECF No. 30 at ¶¶ 75-81, 86-87). Plaintiff further alleges that Ridley’s

 cause of death was “complications of quadriplegia due to dislocation of the C4-C5


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 vertebrae with spinal cord contusions due to blunt impact to the head and neck.”

 (ECF No. 30, ¶ 89).        Plaintiff’s allegations clearly contradict and cannot be

 reconciled with any cause of action under section 46.021, Florida Statutes. If the

 injuries resulted in the death of the individual (which is what the allegations from

 the Plaintiff in the Amended Complaint provide), then no other cause of action for

 personal injuries survives—it all combines into a wrongful death action. See

 Knowles v. Beverly Enterprises-Florida, 898 So. 2d 1 (Fla. 2004); c.f., Starling v.

 R.J. Reynolds Tobacco Co., 845 F. Supp. 2d 1215           (M.D. Fla. 2011). Further,

 Plaintiff would have to prove that his injuries did not result in his death to sustain a

 cause of action under 46.021, Florida Statute, which they expressly decline to allege.

 See Williams v. Bay Hosp., Inc., 471 So. 2d 626, 629-30 (Fla. 1st DCA 1985). As

 such, Count IX of Plaintiff’s Amended Complaint fails to state a cause of action and

 should be dismissed.

                                    CONCLUSION

       Based on the foregoing, Defendants JACOB ANDERSON, WILLIAM

 JEFFREY JERRELS, DANIEL KLEIN, JASON LIVINGSTON, JOHN

 NYITRAY, and STEVEN POTOSKY request that the Court enter an Order

 dismissing the Amended Complaint and any further relief this Court deems

 necessary and/or proper.




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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has been electronically

 filed through the Court’s CM/ECF system which will provide electronic service to

 all counsel of record this 3rd day of June 2022.

                                               /s/ Anthony Dean Johnson
                                               Anthony Dean Johnson




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